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Clara Acosta

From:                           Clara Acosta
Sent:                           Wednesday, March 24, 2021 9:19 AM
To:                             Tonya Jacobson
Cc:                             Monica Velazquez; Charles Crawford; Richard Abernathy; Nick Enoch
Subject:                        RE: Dr. Jones' Witnesses - 1858-079



Good morning, Ms. Jacobson:

Thank you for your response regarding Dr. Jones’ request. However, as noted during our initially scheduled
hearing, Dr. Jones had specifically refrained from calling witnesses because she had not been allocated
sufficient time. It was our understanding that the extension of time was to allow her to call the witnesses she
had not been able to initially. It doesn’t make sense that we were given more time to include witnesses, but are
now denied the same.

Additionally, per the notice of hearing, Dr. Jones may be asked questions by the RRP during the presentation of
the grievance, but now it appears that her named administrators are not being required to make themselves
similarly available. It seems fundamentally unfair and contrary to due process that the RRP will engage in a
questioning of Dr. Matkin or Dr. Jenkins out of sight of Dr. Jones and without providing her representatives the
opportunity to cross-examine them. When a non-criminal matter involves a significant interest, here Dr. Jones’
employment contract, the courts still apply the due process right to confront and cross-examine witnesses.
Goldberg v. Kelly, 397 U.S. 254, 269 (1970) (“[i]n almost every setting where important decisions turn on
questions of fact, due process requires an opportunity to confront and cross-examine witnesses”).

Accordingly, Dr. Jones respectfully requests that this decision be reconsidered.

Lastly, we have received the updated Zoom information for the re-scheduled hearing and reiterate that we are
prepared to proceed on that date.

Regards,

Clara S. Acosta, Esq.
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From: Tonya Jacobson <tjacobson@collin.edu>
Sent: Wednesday, March 24, 2021 6:41 AM
To: Clara Acosta <clara@lubinandenoch.com>
Cc: Monica Velazquez <mvelazquez@collin.edu>; Charles Crawford <ccrawford@abernathy-law.com>; Richard
Abernathy <RAbernathy@ABERNATHY-LAW.com>; Nick Enoch <nick@lubinandenoch.com>
Subject: RE: Dr. Jones' Witnesses - 1858-079

Ms. Acosta,

On March 19, 2021, you, for the first time, requested that Dr. Matkin and Mr. Jenkins be produced to testify at
Dr. Jones’ grievance hearing before the RRP. I have been advised that Dr. Matkin and Dr Jenkins are not
available to testify at the RRP hearing. Throughout this grievance process they have never been designated as
witnesses by Dr. Jones.

The disclosures you provided on March 5 th for the RRP only listed one witness on behalf of Dr. Jones. You did
not identify Dr. Matkin or Dr. Jenkins as witnesses for Dr. Jones at that time, nor prior to or at the start of the
March 17th RRP grievance hearing.

However, Dr. Matkin’s and Dr. Jenkins’ responses and statements that are part of this grievance file have been
provided to you.

I have also checked with the RRP members and they indicated that if they have additional questions for any
witness, including Dr. Matkin or Dr. Jenkins, they will reach out to them directly as provided under our
DGBA(Local) policy.

This also confirms that the RRP hearing has been re-scheduled to March 30 th at 1:00 p.m. and that 45 minutes
will be allocated as agreed to on March 17 th.

Thank you,

Tonya Jacobson
Manager, HR/Employee Relations
Collin College
P: (972)758-3856
F: (972) 985-3778
Tjacobson@collin.edu




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From: Clara Acosta <clara@lubinandenoch.com>
Sent: Friday, March 19, 2021 12:55 PM
To: Tonya Jacobson <tjacobson@collin.edu>
Cc: Monica Velazquez <mvelazquez@collin.edu>; Charles Crawford <ccrawford@abernathy-law.com>; Richard
Abernathy <RAbernathy@ABERNATHY-LAW.com>; Nick Enoch <nick@lubinandenoch.com>
Subject: Dr. Jones' Witnesses - 1858-079

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sender and know the content is safe.
Good afternoon Ms. Jacobson:

In light of the extended time for presentation, including witness testimony, Dr. Jones is now requesting that Dr.
Neil Matkin and Dr. Toni Jenkins be made available for questioning by the parties at the grievance. As the
parties who specifically issued the decision to non-renew her contract, we believe they are salient to the
proceeding.

Please let me know if this will be possible.

Regards,

Clara S. Acosta, Esq.
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